   Case
Case     16-3510, Document
     1:15-cv-02739-LAP     2, 10/17/2016,
                        Document          1886579,
                                   63 Filed        Page1
                                            09/09/16 Pageof 147of 47
   Case
Case     16-3510, Document
     1:15-cv-02739-LAP     2, 10/17/2016,
                        Document          1886579,
                                   63 Filed        Page2
                                            09/09/16 Pageof 247of 47
   Case
Case     16-3510, Document
     1:15-cv-02739-LAP     2, 10/17/2016,
                        Document          1886579,
                                   63 Filed        Page3
                                            09/09/16 Pageof 347of 47
   Case
Case     16-3510, Document
     1:15-cv-02739-LAP     2, 10/17/2016,
                        Document          1886579,
                                   63 Filed        Page4
                                            09/09/16 Pageof 447of 47
   Case
Case     16-3510, Document
     1:15-cv-02739-LAP     2, 10/17/2016,
                        Document          1886579,
                                   63 Filed        Page5
                                            09/09/16 Pageof 547of 47
   Case
Case     16-3510, Document
     1:15-cv-02739-LAP     2, 10/17/2016,
                        Document          1886579,
                                   63 Filed        Page6
                                            09/09/16 Pageof 647of 47
   Case
Case     16-3510, Document
     1:15-cv-02739-LAP     2, 10/17/2016,
                        Document          1886579,
                                   63 Filed        Page7
                                            09/09/16 Pageof 747of 47
   Case
Case     16-3510, Document
     1:15-cv-02739-LAP     2, 10/17/2016,
                        Document          1886579,
                                   63 Filed        Page8
                                            09/09/16 Pageof 847of 47
   Case
Case     16-3510, Document
     1:15-cv-02739-LAP     2, 10/17/2016,
                        Document          1886579,
                                   63 Filed        Page9
                                            09/09/16 Pageof 947of 47
   Case
Case     16-3510, Document
     1:15-cv-02739-LAP     2, 10/17/2016,
                        Document          1886579,
                                   63 Filed        Page10
                                            09/09/16 Pageof1047of 47
   Case
Case     16-3510, Document
     1:15-cv-02739-LAP     2, 10/17/2016,
                        Document          1886579,
                                   63 Filed        Page11
                                            09/09/16 Pageof1147of 47
   Case
Case     16-3510, Document
     1:15-cv-02739-LAP     2, 10/17/2016,
                        Document          1886579,
                                   63 Filed        Page12
                                            09/09/16 Pageof1247of 47
   Case
Case     16-3510, Document
     1:15-cv-02739-LAP     2, 10/17/2016,
                        Document          1886579,
                                   63 Filed        Page13
                                            09/09/16 Pageof1347of 47
   Case
Case     16-3510, Document
     1:15-cv-02739-LAP     2, 10/17/2016,
                        Document          1886579,
                                   63 Filed        Page14
                                            09/09/16 Pageof1447of 47
   Case
Case     16-3510, Document
     1:15-cv-02739-LAP     2, 10/17/2016,
                        Document          1886579,
                                   63 Filed        Page15
                                            09/09/16 Pageof1547of 47
   Case
Case     16-3510, Document
     1:15-cv-02739-LAP     2, 10/17/2016,
                        Document          1886579,
                                   63 Filed        Page16
                                            09/09/16 Pageof1647of 47
   Case
Case     16-3510, Document
     1:15-cv-02739-LAP     2, 10/17/2016,
                        Document          1886579,
                                   63 Filed        Page17
                                            09/09/16 Pageof1747of 47
   Case
Case     16-3510, Document
     1:15-cv-02739-LAP     2, 10/17/2016,
                        Document          1886579,
                                   63 Filed        Page18
                                            09/09/16 Pageof1847of 47
   Case
Case     16-3510, Document
     1:15-cv-02739-LAP     2, 10/17/2016,
                        Document          1886579,
                                   63 Filed        Page19
                                            09/09/16 Pageof1947of 47
   Case
Case     16-3510, Document
     1:15-cv-02739-LAP     2, 10/17/2016,
                        Document          1886579,
                                   63 Filed        Page20
                                            09/09/16 Pageof2047of 47
   Case
Case     16-3510, Document
     1:15-cv-02739-LAP     2, 10/17/2016,
                        Document          1886579,
                                   63 Filed        Page21
                                            09/09/16 Pageof2147of 47
   Case
Case     16-3510, Document
     1:15-cv-02739-LAP     2, 10/17/2016,
                        Document          1886579,
                                   63 Filed        Page22
                                            09/09/16 Pageof2247of 47
   Case
Case     16-3510, Document
     1:15-cv-02739-LAP     2, 10/17/2016,
                        Document          1886579,
                                   63 Filed        Page23
                                            09/09/16 Pageof2347of 47
   Case
Case     16-3510, Document
     1:15-cv-02739-LAP     2, 10/17/2016,
                        Document          1886579,
                                   63 Filed        Page24
                                            09/09/16 Pageof2447of 47
   Case
Case     16-3510, Document
     1:15-cv-02739-LAP     2, 10/17/2016,
                        Document          1886579,
                                   63 Filed        Page25
                                            09/09/16 Pageof2547of 47
   Case
Case     16-3510, Document
     1:15-cv-02739-LAP     2, 10/17/2016,
                        Document          1886579,
                                   63 Filed        Page26
                                            09/09/16 Pageof2647of 47
   Case
Case     16-3510, Document
     1:15-cv-02739-LAP     2, 10/17/2016,
                        Document          1886579,
                                   63 Filed        Page27
                                            09/09/16 Pageof2747of 47
   Case
Case     16-3510, Document
     1:15-cv-02739-LAP     2, 10/17/2016,
                        Document          1886579,
                                   63 Filed        Page28
                                            09/09/16 Pageof2847of 47
   Case
Case     16-3510, Document
     1:15-cv-02739-LAP     2, 10/17/2016,
                        Document          1886579,
                                   63 Filed        Page29
                                            09/09/16 Pageof2947of 47
   Case
Case     16-3510, Document
     1:15-cv-02739-LAP     2, 10/17/2016,
                        Document          1886579,
                                   63 Filed        Page30
                                            09/09/16 Pageof3047of 47
   Case
Case     16-3510, Document
     1:15-cv-02739-LAP     2, 10/17/2016,
                        Document          1886579,
                                   63 Filed        Page31
                                            09/09/16 Pageof3147of 47
   Case
Case     16-3510, Document
     1:15-cv-02739-LAP     2, 10/17/2016,
                        Document          1886579,
                                   63 Filed        Page32
                                            09/09/16 Pageof3247of 47
   Case
Case     16-3510, Document
     1:15-cv-02739-LAP     2, 10/17/2016,
                        Document          1886579,
                                   63 Filed        Page33
                                            09/09/16 Pageof3347of 47
   Case
Case     16-3510, Document
     1:15-cv-02739-LAP     2, 10/17/2016,
                        Document          1886579,
                                   63 Filed        Page34
                                            09/09/16 Pageof3447of 47
   Case
Case     16-3510, Document
     1:15-cv-02739-LAP     2, 10/17/2016,
                        Document          1886579,
                                   63 Filed        Page35
                                            09/09/16 Pageof3547of 47
   Case
Case     16-3510, Document
     1:15-cv-02739-LAP     2, 10/17/2016,
                        Document          1886579,
                                   63 Filed        Page36
                                            09/09/16 Pageof3647of 47
   Case
Case     16-3510, Document
     1:15-cv-02739-LAP     2, 10/17/2016,
                        Document          1886579,
                                   63 Filed        Page37
                                            09/09/16 Pageof3747of 47
   Case
Case     16-3510, Document
     1:15-cv-02739-LAP     2, 10/17/2016,
                        Document          1886579,
                                   63 Filed        Page38
                                            09/09/16 Pageof3847of 47
   Case
Case     16-3510, Document
     1:15-cv-02739-LAP     2, 10/17/2016,
                        Document          1886579,
                                   63 Filed        Page39
                                            09/09/16 Pageof3947of 47
   Case
Case     16-3510, Document
     1:15-cv-02739-LAP     2, 10/17/2016,
                        Document          1886579,
                                   63 Filed        Page40
                                            09/09/16 Pageof4047of 47
   Case
Case     16-3510, Document
     1:15-cv-02739-LAP     2, 10/17/2016,
                        Document          1886579,
                                   63 Filed        Page41
                                            09/09/16 Pageof4147of 47
   Case
Case     16-3510, Document
     1:15-cv-02739-LAP     2, 10/17/2016,
                        Document          1886579,
                                   63 Filed        Page42
                                            09/09/16 Pageof4247of 47
   Case
Case     16-3510, Document
     1:15-cv-02739-LAP     2, 10/17/2016,
                        Document          1886579,
                                   63 Filed        Page43
                                            09/09/16 Pageof4347of 47
   Case
Case     16-3510, Document
     1:15-cv-02739-LAP     2, 10/17/2016,
                        Document          1886579,
                                   63 Filed        Page44
                                            09/09/16 Pageof4447of 47
   Case
Case     16-3510, Document
     1:15-cv-02739-LAP     2, 10/17/2016,
                        Document          1886579,
                                   63 Filed        Page45
                                            09/09/16 Pageof4547of 47
   Case
Case     16-3510, Document
     1:15-cv-02739-LAP     2, 10/17/2016,
                        Document          1886579,
                                   63 Filed        Page46
                                            09/09/16 Pageof4647of 47
   Case
Case     16-3510, Document
     1:15-cv-02739-LAP     2, 10/17/2016,
                        Document          1886579,
                                   63 Filed        Page47
                                            09/09/16 Pageof4747of 47
